                   Case 17-50024-LSS            Doc 275        Filed 06/20/19         Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               :   Chapter 11
    In re:                                                     :
                                                               :   Case No. 15-11323 (LSS)
    Citadel Watford City Disposal Partners, L.P., et           :
    al.,1                                                      :   (Jointly Administered)
                                                               :
                             Debtors.                          :
                                                               :
                                                               :
    Gavin/Solmonese LLC, Liquidation Trustee for               :
    the Citadel Creditors’ Grantor Trust, successor            :
    to Citadel Watford City Disposal Partners, L.P.,           :
                                                               :
    et al.,
                                                               :   Adv. Proc. No. 17-50024 (LSS)
                                                               :
                             Plaintiff,                        :
                                                               :
    v.                                                         :
                                                               :
    Citadel Energy Partners, LLC, et al.,                      :
                                                               :
                             Defendants.                       :
                                                               :

    CERTIFICATION OF COUNSEL REGARDING AMENDED SCHEDULING ORDER

             I, John Balaguer, counsel to the Law Offices of Louis E. Bridges, LLC (“Bridges”),

defendant in the above captioned bankruptcy cases and adversary proceeding, hereby certify that:

             1.    On February 12, 2018, the Court entered a scheduling order (the “Scheduling

Order”) in the above-captioned adversary proceeding (the “Adversary Proceeding”). See Adv. D.I.

180.




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Citadel Energy
Services, LLC (7762); Pembroke Fields, LLC (0341); Citadel Energy SWD Holdings, LLC (5266) and Citadel
Watford City Disposal Partners, LP (1520). The address for each Debtor is c/o Gavin/Solmonese LLC, Liquidation
Trustee, 919 N. Market St., Suite 600, Wilmington, DE 19801.


23003665v.1
              Case 17-50024-LSS         Doc 275     Filed 06/20/19     Page 2 of 2



        2.     On June 18, 2019, Parties participated in mediation which was not immediately

successful, however the Parties continue to discuss a possible settlement.

        3.     The dispositive motion deadline is currently July 1, 2019.

        4.     The parties have conferred and Plaintiffs and all Defendants have agreed, subject

to Court approval, to extend the dispositive motion deadline to August 1, 2019. A blackline of the

Scheduling Order with the proposed new date is attached hereto as Exhibit 1. A proposed

Amended Scheduling Order incorporating this date is attached hereto as Exhibit 2.




                                                     WHITE AND WILLIAMS LLP


                                                     /s/ John D. Balaguer
                                                     John D. Balaguer (DE Bar No. 2537)
                                                     Nicholas R. Wynn (DE Bar No. 5670)
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                                                     Counsel for Defendant, Law Offices of
                                                     Louis E. Bridges, LLC




23003665v.1
